UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
JOVAN CAMPBELL, on behalf of herself and all others :
similarly situated,                                                    :
                                                                       :
                                    Plaintiff,                         :     23-CV-2285 (JMF)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
SNAPDOODLE TOYS, LLC,                                                  :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

       Plaintiff alleges that Defendant’s website is not accessible to blind and visually impaired
customers and, thus, violates Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C.
§ 12181 et seq. By separate Order today, the Court is referring this case to the assigned Magistrate
Judge for General Pretrial Purposes, including settlement.

        In addition, to conserve resources, to promote judicial efficiency, and in an effort to achieve a
faster disposition of this matter, it is hereby ORDERED that the parties must discuss whether they are
willing to consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the assigned
Magistrate Judge. If all parties so consent, counsel shall file on ECF a fully executed Notice, Consent,
and Reference of a Civil Action to a Magistrate Judge form, available at https://nysd.uscourts.gov/
node/754. If the parties do so, and the Court so orders the form, all further proceedings will then be
conducted before the assigned Magistrate Judge rather than before the undersigned. There will be no
adverse consequences if the parties do not consent to proceed before the Magistrate Judge.

        SO ORDERED.

Dated: March 21, 2023                                      __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
